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             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT


                              Docket No. 22-3075


        DAVID SCHAFFNER, JR. AND THERESA SUE SCHAFFNER,

                                            Plaintiffs-Appellees,

                                    v.

                           MONSANTO COMPANY,

                                            Defendants-Appellants.


             BRIEF OF APPELLEES DAVID SCHAFFNER, JR.
                      and THERESA SCHAFFNER


  On appeal from a judgment entered in the United States District Court for the
Western District of Pennsylvania on October 3, 2022, in Docket No. 2:19-cv-1270,
  seeking reversal of an order entered in the United States District Court for the
Northern District of California on February 25, 2022, in Docket No. 2:19-cv-7526.


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                   I.      ISSUES PRESENTED FOR REVIEW

      Monsanto presents two issues for this Court’s consideration:

      1.      Does FIFRA expressly preempt Mr. Schaffner’s strict liability claim

sounding in failure to warn?

      2.      Does FIFRA impliedly preempt Mr. Schaffner’s strict liability claim

under the rubric of “impossibility” preemption?

      Monsanto’s appeal raises a third issues as well:

      3.      Should the Court decline to reach Monsanto’s preemption arguments

based on issue preclusion and law of the case where both the MDL court and the

Ninth Circuit squarely rejected Monsanto’s preemption arguments in Hardeman v.

Monsanto Company?

                               II.   RELATED CASES

      In 2016, the Judicial Panel on Multidistrict Litigation established a multi-

district litigation proceeding in the Northern District of California for claims that the

plaintiff developed non-Hodgkin’s lymphoma (“NHL”) resulting from Roundup

exposure. See In re Roundup Product Liability Litig., 214 F. Supp. 3d 1346 (J.P.M.L.

2016) (establishing MDL 2741). Mr. Schaffner’s case is among the thousands of

Roundup cases supervised within MDL 2741 and one of over 100,000 cases filed

nationwide involving claims of cancer caused by Roundup exposure.




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      Like this case, Hardeman v. Monsanto Co., N.D. Cal., Nos. 3:1-cv-00525-

VC, 3:16-md-02741-VC, was a Roundup case supervised within MDL 2741 in

which the plaintiff developed NHL resulting from Roundup exposure and asserted

failure to warn claims against Monsanto. In 2016, Monsanto argued that the

plaintiff’s claims were preempted by the Federal Insecticide, Fungicide and

Rodenticide Act, 7 U.S.C. §§ 136-136y (“FIFRA”). The MDL court rejected

Monsanto’s preemption argument in April 2016. Appx0014. When Monsanto

appealed after a jury verdict in plaintiff’s favor, the Ninth Circuit rejected

Monsanto’s express and implied preemption arguments as a necessary dimension of

affirming the judgment in the plaintiff’s favor. The Supreme Court denied certiorari

after receiving a brief from the United States advising that FIFRA does not preempt

tort claims sounding in failure to warn. See Hardeman v. Monsanto Company, 997

F.3d 941 (9th Cir. 2021), cert. denied, 142 S. Ct. 2834 (2022); Appx0194. In turn,

the MDL court relied on Hardeman when denying summary judgment as a global

matter in MDL 2714 including in Schaffner. Appx0026, Appx0020, Appx0014.

                      III.     STATEMENT OF THE CASE

A.    Introduction

      Plaintiffs David and Theresa Schaffner are residents of Pennsylvania.

Appx0028. Mr. Schaffner worked as a professional landscaper and property owner

in Butler and Allegheny Counties from 1988 until 2017. Appx0037. Mr. Schaffner



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used Roundup on a nearly daily basis during these professional rules. Id. Mr.

Schaffner did not use safety precautions when using Roundup because Monsanto

marketed Roundup as safe and represented that it could be used without precautions.

Id. Otherwise he had obtained state-issued certifications for the use of hazardous

materials and regularly took precautions to avoid workplace dangers, such as using

respirators when handling landscape chemicals that posed a risk of injury through

inhalation. Appx0038-0039.

      After two decades of Roundup exposure, Mr. Schaffner was diagnosed in

2006 with NHL at age 43. He underwent surgery and a course of chemotherapy. In

2008, Mr. Schaffner’s doctors advised that Mr. Schaffner had achieved remission

because the cancer had not returned. But the Schaffners live with the ongoing fear

that the cancer will reoccur. Id. Their case seeks recovery for the injuries caused by

Mr. Schaffner’s Roundup-induced cancer. Id.; Appx0784 (expert report opining that

Roundup exposure caused Mr. Schaffner’s cancer based on Mr. Schaffner’s

exposure history, medical records, and the scientific literature). Monsanto now seeks

dismissal of the Schaffners’ case on grounds of FIFRA preemption.

B.    The statutory framework of FIFRA

      Under FIFRA, pesticide manufacturers must register a pesticide with EPA

before selling that product in the United States. 7 U.S.C. § 136a(a). Based on

information supplied by the manufacturer, EPA will register a pesticide if it



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determines that, inter alia, (1) the product will perform its function when used in

accord with common practice without causing “unreasonable adverse effects on the

environment;” and (2) the product label complies with FIFRA including those

provisions concerning “misbranding” of a product label. 7 U.S.C. § 136a(c)(5)(B)-

(D). Manufacturers have an ongoing responsibility to update EPA with information

concerning the health risks posed by a registered pesticide, and EPA reviews

pesticide registrations every 15 years. § 136a(g)(1)(A); § 136j(a)(1)(E); 40 C.F.R.

159.158; see generally Bates v. Dow Agrosciences, 544 U.S. 431, 437-38 (2005).

      Regarding the product label, FIFRA registration does not represent a

conclusive determination that the label appropriately warns about a pesticide’s

health risks. FIFRA instead provides that registration represents only “prima facie

evidence that the pesticide, its labeling and packaging comply with the registration

provisions of the subchapter.” § 136a(f)(2). FIFRA further provides that “[i]n no

event shall registration of an article be construed as a defense for the commission of

any offense under this subchapter.” Id. EPA also may determine that a pesticide label

is “misbranded” if the agency concludes that the label lacks “a warning or caution

statement . . . adequate to protect health and the environment,” or if the label lacks

“directions for use . . . adequate to protect health and safety.” § 136(q)(1)(F)-(G);

Bates, 544 U.S. at 438. EPA can bring enforcement actions against the manufacturer

of a misbranded pesticide, including proceedings to cancel the pesticide’s



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registration, or to pursue civil or criminal penalties. 7 U.S.C. §§ 136d(b); 136l;

Bates, 544 U.S. at 439 & n.11.

      FIFRA give the states concurrent authority to “regulate the sale or use of any

federally registered pesticide.” 7 U.S.C. § 136v(a). Unlike the federal statutes

governing prescription drugs and medical devices (for example), states may

completely ban a pesticide’s sale if a state finds “that one of the pesticide’s label

approved uses is unsafe,” despite EPA’s approval of the label. See Bates, 544 U.S.

at 446 (citing § 136v(a)). This approach reflects Congress’ embrace of a “relatively

decentralized scheme that preserves a broad role for state regulation” regarding

pesticide regulation Id. at 450.

      Consistent with FIFRA’s scheme of overlapping state and federal power, the

statute’s express preemption clause is narrow. See 7 U.S.C. § 136v(b); Bates, 544

U.S. at 447, 452. Under this provision, states are barred only from “impos[ing] or

continu[ing] in effect any requirements for labeling or packaging in addition to or

different from those required under this subchapter.” § 136v(b). Bates held that a

“requirement” is “rule of law that must be obeyed,” such as a duly promulgated

federal regulation. Id. at 445. Bates distinguished a “requirement” under FIFRA’s

preemption language from “an event, such as “a jury verdict, that merely motivates

an optional decision.” Id. Regarding the narrow definition of “requirements” under

FIFRA, the Court added that “[t]he long history of tort litigation against



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manufacturers of poisonous substances adds force to the basic presumption against

preemption.” Id. at 449. “If Congress had intended to deprive injured parties of a

long available form of compensation, it surely would have expressed that intent more

clearly.” Id. That history of litigation instead “emphasizes the importance of

providing an incentive to manufacturers to use the utmost care in the business of

distributing inherently dangerous items.” Id. at 450.

C.    A brief history of Roundup.

      1.     Monsanto repeatedly failed to assess glyphosate’s risk for
             carcinogenicity.

      Glyphosate is the active ingredient in Roundup. Roundup’s history begins in

the early 1970’s with Monsanto’s development of glyphosate as a broad-spectrum

and non-selective herbicide. Glyphosate kills virtually any vegetation that it

contacts—except for “Roundup Ready” crops grown from Monsanto’s genetically

modified seeds. It can be used practically anywhere people want to control weeds

growing among crops, landscaping, and home plantings.

      Monsanto obtained permission from EPA to market glyphosate under the

brand name “Roundup” in 1974. Appx0034. Since then, glyphosate has become the

most-used active ingredient in American agriculture. While marketing Roundup,

Monsanto has told the public that Roundup is “safer than table salt’ and “practically

nontoxic.” Appx0045-0046. Monsanto has assured people that Roundup’s “safety

margin is much greater than required,” so that people could “feel good” about using


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Roundup around their homes. Id. Monsanto has stated that Roundup could be used

where kids and pets play. Monsanto visuals depicted people spraying Roundup while

wearing shorts and a short-sleeve t-shirt, without gloves or protective eyewear.

Appx0047.1 Eventually, the New York Attorney General sued Monsanto for false

advertising, resulting in a 1996 agreement under which Monsanto ceased advertising

in New York that its glyphosate-based products were safe, non-toxic, and good for

the environment. Monsanto did not change its Roundup marketing anywhere else.

Appx0047-0048.

      A data falsification scandal provided early signs that Roundup might not have

been as benign as Monsanto represented. When applying to register glyphosate with

EPA in the early 1970s, Monsanto contracted with a commercial laboratory known

as Industrial Bio-Test Laboratories (“IBT”) for performance of studies addressing

whether glyphosate caused cancer or cell mutations in animals. In 1976, two years

after EPA relied on those studies when registering glyphosate for commercial sale,

the government discovered that IBT had falsified the study data. EPA’s subsequent

audit invalidated the studies and eventually three IBT executives were convicted of

criminal fraud. These executives included Dr. Paul Wright, a Monsanto toxicologist


1
 In Pilliod v. Monsanto Co., 282 Cal. Rptr. 3d 679 (Cal. Ct. App. 2021), cert. denied,
142 S. Ct. 2870 (2022), Mrs. Pilliod testified that she thought that Roundup was
“really safe to use” based on Monsanto commercials showing people spraying
Roundup in shorts without gloves and given Monsanto’s about using protective
clothing. Id. at 692.


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who left Monsanto to work for IBT and then returned to Monsanto until his

conviction. Appx0044. However, Monsanto did not inform consumers about safety

concerns arising from IBT’s wrongful testing of glyphosate. It did not remove

Roundup from the market. Within a few years of launch, Monsanto instead was

marketing Roundup in 115 countries. Id.; Pilliod, 282 Cal. Rptr. At 629-31.

      During the 1970s and early 1980s, valid studies began to emerge showing a

link between glyphosate and cancer. In 1985, EPA classified glyphosate as possibly

carcinogenic in humans based on a study finding that glyphosate was oncogenic in

male mice. Appx0043. In the 1980s, Monsanto recognized that this classification

would threaten its Roundup sales. It attacked the animal studies by hiring an expert

to persuade the agency that the observed tumors were not related to glyphosate and

pressured EPA to reclassify Roundup. Appx0531-0534; Pilliod, 282 Cal,. Rptr. At

722. EPA eventually downgraded its classification while emphasizing that it had not

concluded that glyphosate did not cause cancer; its reclassification was simply based

on “the available evidence at the time of evaluation.” Id.

      The study of glyphosate’s carcinogenicity continued. By the late 1990s,

several studies concluded glyphosate was a possible carcinogen in humans. These

developments led Monsanto to hire world-renowned genotoxicity expert Dr. James

Parry to review and rebut the studies. Dr. Parry instead concluded that glyphosate

could be genotoxic and suggested tests that Monsanto should conduct to further



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assess that question. Appx0346, Appx0380-400, Appx0401-0405. Monsanto refused

to perform the recommended tests. It also did not share Dr. Parry’s recommendations

with EPA in violation of FIFRA. Appx0535-0537; 40 C.F.R. § 159.158 (describing

a registrant’s obligations to report information to EPA relevant to health and safety).

It responded to Dr. Parry’s recommendations by deciding that Dr. Parry was not the

person “who can be influential with regulators and Scientific Outreach operations

when genotox issues arise” and that “we simply are not going do the studies that

Parry suggests.” Appx0512. Monsanto’s lead employee for product safety

assessment, Dr. William Heydens, added that Monsanto needed to find someone

“comfortable” with the genotoxic profile of glyphosate and that “Parry is not

currently such a person, and it would take quite some time and $$$/studies to get

him there.” Id. Dr. Heydens stated that glyphosate was “very vulnerable in this area,”

and that Monsanto needed to make finding an expert who would support

glyphosate’s genotoxic profile a “high priority.” Id.

      Monsanto found another expert who was willing to accept Monsanto’s view

of glyphosate’s genotoxic profile. In 1999, Monsanto retained a pathologist at New

York Medical College named Dr. Gary Williams. Appx0508. In 2000, Monsanto

employees ghostwrote an article under Dr. Williams’ name concluding that “under

present and expected conditions of use, Roundup herbicide does not pose a health

risk to humans.” Appx279-80, Appx0525-0527; Chapman v. Monsanto Co., 2022



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WL 3971287, at *9 (S.D. Tex. Aug. 31, 2022). Monsanto later used the article as

“invaluable asset” when responding to regulatory agencies including EPA and a

“valuable resource” when responding to product liability claims. Id.; Appx0574.

EPA would rely repeatedly on the ghost-written Williams article in a 2016

evaluation of glyphosate’s carcinogenic potential. Id.2 As another court observed,

“[t]his evidence [suggests] that Monsanto acted to manipulate the scientific

discourse with conscious disregard for public safety.” Pilliod, 282 Cal. Rptr. 3d at

724.

       Importantly, Monsanto has never conducted or submitted to EPA any testing

of formulated Roundup including all of its various ingredients. It only tested the

active ingredient, glyphosate. Id. at 689, 691 (recounting testimony from a Monsanto

toxicologist acknowledging that the company could not say that Roundup was not a

carcinogen “because it had not done the necessary testing on the formulation”);

Appx0228-248 (EPA report explaining that only glyphosate was studies); Appx0328

(Monsanto acknowledgments it conducted no epidemiology studies on the

relationship between formulated Roundup and NHL). But Roundup itself contains



2  EPA Office of Pesticide Programs, Glyphosate Issue Paper: Evaluation of
Carcinogenic Potential 22, 98, 155 (Sept. 12, 2016),
https://www.epa.gov/sites/default/files/2016-
09/documents/glyphosate_issue_paper_evaluation_of_carcincogenic_potential.pdf
(last visited March 15, 2023).



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additional ingredients called “surfactants” that are designed to amplify glyphosate’s

effects. One such surfactant is polyethoxylated tallow amine (“POEA”), which

enhances absorption and helps Roundup penetrate the surface of a leaf. Appx0267.3

This chemical also increases the absorption of Roundup into human skin and thus

can increase human exposure to glyphosate unless gloves and protective gear are

used. When concerns arose about the use of POEA and European regulators

considered banning the substance, Dr. Heydens wrote that Monsanto should defend

the use of POEA, because a ban on POEA’s use in Roundup would lead to a “domino

effect” in other parts of the world Appx0690.

      In 2016, EPA’s Office of Research and Development prepared an internal

agency report assessing studies dating from 1986 to 2013 that associated glyphosate

exposure with increased risk of developing NHL. This EPA office concluded that

there was “suggestive” evidence of glyphosate’s carcinogenetic potential.

Appx1642. However, EPA’s Office of Pesticide Programs issued a paper in

December 2017 stating that EPA could not reach “a conclusion regarding the

association between glyphosate exposure and risk of NHL.”4 The paper explained



3 In Pilliod, one expert testified that POEA made Roundup “about 50 times more

genotoxic than glyphosate alone.” Pilliod, 282 Cal. Rptr. 3d at 695.
4
  EPA Office of Pesticide Programs, Revised Glyphosate Issue Paper: Evaluation
of Carcinogenic Potential 68 (Dec. 12, 2017),
https://cfpub.epa.gov/si/si_public_file_download.cfm?p_download_id=534487
(last visited March 15, 2023).


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that the data was uncertain because “farmers and other applicators apply

formulations, not the active ingredient alone.”5 The paper acknowledged that EPA’s

advisors had “conflicting views on how to interpret the overall results for NHL, and

acknowledged the need for more research “to determine whether formulation

components, such as surfactants, influence the toxicity of glyphosate formulations.”6

      In April 2019, EPA issued a proposed decision about the re-registration of

glyphosate. The decision acknowledged that “[m]any commenters expressed

concerns that glyphosate formulations are more toxic than glyphosate alone and

questioned the toxicity of inert ingredients and the lack of transparency for inert

ingredients and other contaminants in pesticide products.”7 EPA also acknowledged

that “few research projects” had tried to compare “technical grade glyphosate” to

glyphosate-based formulations like Roundup.8 EPA continued that “[i]f at any time,

information becomes available that indicates adverse human health effects of

concern for exposure to glyphosate or its formulations, EPA intends to review it and




5
  Id. at 137.
6
  Id. at 67, 144
7
  EPA Glyphosate: Proposed Interim Registration Review Decision 10, No. 0178
(Apr. 2019), http://tinyurl.com/y6h2u8w6 (last visited March 15, 2023).
8
  Id. at 11.


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determine the appropriate regulatory action.”9 See Hardeman, 997 F.3d at 952

(reviewing glyphosate’s regulatory history).

          2.    In 2015, the International Agency for Research on Cancer
                concluded that glyphosate is a probable carcinogen, after which
                EPA authorized labels referencing IARC’s cancer conclusion.

          The International Agency for Research on Cancer (“IARC”) is an agency of

the World Health Organization that conducts and coordinates research into the

causes of cancer. The IARC’s classification system for carcinogenicity is based on

strict scientific criteria and used throughout the world. In 2015, an IARC working

group performed a systematic and independent review of publicly available studies

concerning the health risks of glyphosate. The working group issued a monograph

that classified glyphosate as a Group 2A carcinogen, meaning that glyphosate was

“probably carcinogenic to humans.” Appx0036, Appx0048-0051.10 The working

group concluded that strong evidence existed for the genotoxicity of both pure

glyphosate and glyphosate formulations such as Roundup. It concluded that the

cancers most associated with glyphosate exposure included NHL. Appx0036.




9
    Id.
10 The IARC’s approach to evaluating carcinogenicity is set forth in its preamble,

located at https://monographs.iarc.who.int/wp-content/uploads/2019/07/Preamble-
2019.pdf (last visited on March 28, 2023).



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      Based on the IARC’s assessment of glyphosate, the California Office of

Environmental Health Hazard Assessment (“OEHHA”) published a notice in

September 2015 of its intent to include glyphosate on the state’s list of known

carcinogens pursuant to California’s Proposition 65. This California law requires

businesses to provide warnings to Californians about exposures to chemicals

“known to the State of California to cause cancer of reproductive toxicity.”

Appx0056. The OEHHA determined that glyphosate met the criteria for being listed

because California law requires the listing of substantives that the IARC has

identified as carcinogenic. Id. OEHHA officially added glyphosate to the

Proposition 65 list of carcinogens in July 2017. Appx1490.11

      In 2017, EPA authorized pesticide manufacturers to revise their labels to add

the Proposition 65 glyphosate warning. Appx0208. But in August 2019, the Director

of the Registration Division within EPA’s Office of Pesticide Programs wrote an

informal letter to the registrants of glyphosate-containing pesticides in reaction to

California’s warning requirement. Appx0192. Sent without notice and comment,

and absent regulatory procedure, the letter stated that EPA disagreed with the

IARC’s assessment, that EPA had assessed glyphosate as “not likely to be



11
  Cal. Office of Env’t Health Hazard Assessment, Glyphosate,
https://oehha.ca.gov/proposition-65/chemicals/glyphosate (last visited March 15,
2023).



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carcinogenic to humans,” and that EPA would consider a Proposition 65 warning on

a glyphosate-containing product to be a false and misleading statement. The letter

stated that EPA would not approve labeling that included the Proposition 65 warning

statement for pesticides containing glyphosate. Appx0192-0193.

      In April 2022, the EPA’s Assistant Administrator for the Office of Chemical

Safety and Pollution Prevention sent another letter to the Director of OEHHA.12 This

letter from a higher-ranking official approved OEHHA’s revised Proposition 65

warning, which specifically retained the statement that IARC has classified

glyphosate as probably carcinogenic to humans and added reference to the EPA’s

“not likely” assessment as well. Appx1045-1046.13 The letter stated that this

proposed revision was sufficiently clear concerning EPA’s assessment of glyphosate

and could be approved by EPA. Id. California has used this EPA-approved warning

ever since. Appx1485, Appx1490.




12
   This was a higher-ranking EPA official. See EPA Organizational Chart (Sept. 24,
2022), www.epa.gov/aboutepa/epa-organization-chart (last visited March 15,
2023); EPA Organization Chart for the Office of Chemical Safety and Pollution
Prevention (OCSPP) (Nov. 1, 2022), www.epa.gov/aboutepa/organization-chart-
office-chemical-safetyand-pollution-prevention-ocspp (last visited March 15,
2023).
13 The EPA sent this letter to OEHHA before Natural Resources Defense Council.

v. U.S. Environmental Protection Agency, 38 F.4th 34 (9th Cir. 2022) (discussed
below), which vacated the EPA’s “not likely” determination. Id. at 51.



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      3.    The Ninth Circuit vacated EPA’s assessment that glyphosate is not
            likely to cause cancer.

      FIFRA requires that “registrations of pesticides are to be periodically

reviewed” by EPA every 15 years. 7 U.S.C. § 136a(g)(1)(A). Consistent with that

mandate, EPA started a re-registration review of glyphosate in 2009. The review

process eventually produced an Interim Decision in January 2020. In that Interim

Decision, EPA stated that it had assessed the risks to humans from glyphosate

exposure and reiterated its view that “there are no risks to human health from the

current registered uses of glyphosate and that glyphosate is not likely to be

carcinogenic to humans.” Appx0234-0235.

      The Natural Resources Defense Council challenged the human health

assessment in the 2020 Interim Decision based on the EPA’s administrative process

during the analysis. That legal challenge resulted in a 2022 decision by the Ninth

Circuit vacating the agency’s conclusion that glyphosate was “not likely to be

carcinogenic.” The Ninth Circuit found that EPA’s reasoning represented “the

hallmark of arbitrary action.” Natural Resources Defense Council. v. U.S.

Environmental Protection Agency, 38 F.4th 34, 51 (9th Cir. 2022) (internal quotation

marks omitted). The Court explained that a “not likely” descriptor was only

appropriate under EPA guidelines where “robust” data showed “no basis for human

hazard concern.” But for glyphosate, “most studies EPA examined indicated that

human exposure to glyphosate is associated with at least a somewhat increased risk


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of developing NHL.” Id. In addition, the Court wrote, EPA’s “not likely” conclusion

did not withstand scrutiny under the agency’s own framework. Id. EPA guidelines

described how the agency may use historical-control data that show natural tumor

prevalence in certain animal species. Historical-control data that uncovers rare

tumors may bolster a case for carcinogenicity since a rare tumor was “unlikely to be

due to chance.” Id. at 47-48. But EPA used historical-control data “only to discount

studies indicating that glyphosate may cause tumors.” Id. at 48 (emphasis added).

This one-sided approach even drew criticism from within EPA because it could

“potentially introduce biases.” Id. Rather than address those concerns, “the agency

did not change the way in which it factored those data into its analysis.” Id.

Ultimately, the Ninth Circuit found that the “not likely” conclusion was unsupported

by substantial evidence, that EPA’s “errors in assessing human-health risks are

serious,” and that the interim decision had to be vacated. Id. at 47, 49. EPA did not

seek further review. EPA’s “not likely” human health determination has been

vacated. NRDC v. EPA, No. 20-70787, Dkt. 143 (9th Cir. Aug. 24, 2022).

D.    The procedural history of this litigation

      1.     David and Theresa Schaffner sued Monsanto for injuries caused by
             Mr. Schaffner’s exposure to Roundup.

      The Schaffners commenced this action in September 2019 in the Allegheny

County Court of Common Pleas. Appx0028. To pursue recovery for the injuries

caused by Mr. Schaffner’s Roundup-induced cancer, the complaint described Mr.


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Schaffner’s regular use of Roundup during his decades of work as a professional

landscaper and property owner. It also described Monsanto’s misleading advertising

concerning Roundup and its toxicity. Appx0040-0068. The complaint asserted six

causes of action against Monsanto: (1) strict liability sounding in design defect, (2)

strict liability sounding in failure to warn, (3) negligence, (4) breach of express

warranty, (5) breach of implied warranty, and (6) negligent misrepresentation and/or

fraud. Appx0070-0092. In October 2019, Monsanto removed the case on the basis

of diversity of jurisdiction. Appx0100. The Judicial Panel on Multidistrict Litigation

transferred the case to the Northern District of California for inclusion in MDL 2741.

Appx0104.

      2.     In Hardeman, the Ninth Circuit rejected the same preemption
             arguments Monsanto makes here.

      As noted above, Hardeman was another case in MDL 2741 alleging that a

plaintiff developed NHL resulting from Roundup exposure. The plaintiff sued

Monsanto, inter alia, for failure to warn about Roundup’s health risks under

California law. Monsanto moved to dismiss those failure-to-warn claims on FIFRA

preemption grounds. The MDL court rejected those arguments by order entered

April 8, 2016. Appx0014. When denying preemption, the MDL court explained that

Mr. Hardeman’s failure-to-warn claim was consistent with FIFRA because FIFRA’s

misbranding provision requires a pesticide “to contain a warning or causation

statement which may be necessary and if complied with . . . is adequate to protect


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health and the environment,” 7 U.S.C. § 136(q)(1)(G), while California’s common

law sounding in failure to warn similarly provides for liability where a manufacturer

fails to “warn either of any risk that is known or knowable (in strict liability) or at

least those risks that a reasonably prudent manufacturer would have known and

warned about (in negligence). Appx 0014-0015 (internal quotation marks omitted).

If anything, the MDL court explained, a manufacturer’s duty under California law

may be narrower because (in negligence) a manufacturer is not liable where a

warning would be unreasonable, whereas FIFRA requires a warning necessary and

adequate to protect human health regardless of reasonableness. Id. At a minimum,

the court concluded, “it’s hard to see how Hardeman’s failure to warn claims could

be construed more broadly than FIFRA.” Id. (citation and internal quotation marks

omitted).

      In response to Monsanto’s argument that EPA’s various actions concerning

Roundup registration justified preemption, the MDL court noted that FIFRA’s

authorizing EPA to enforce FIFRA’s provisions did not prevent private litigants

from pursuing state-law claims for conduct that violated FIFRA. Indeed, the

Supreme Court itself has “allowed private remedies that enforce FIFRA’s

misbranding requirement” and has rejected arguments “against giving juries in 50

States the authority to give content to FIFRA’s misbranding prohibition.”

Appx00015 (quoting Bates, 544 U.S. at 448, 451) (internal quotation marks



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omitted). The court added that this result was entirely consistent with FIFRA’s

provisions that registration was only “prima facie” evidence that a label complied

with FIFRA’s misbranding provisions, and that “[i]n no event shall registration of

an article be construed as a defense for the commission of any offense” under

FIFRA. Id., citing 7 U.S.C. § 136a(f)(2). The court concluded that “if EPA’s

approval of Roundup’s label had the force of law, it would preempt conflicting state-

law enforcement of FIFRA. But there’s no indication that EPA’s approval of

Roundup’s label had the force of law.” Appx0016 (citations omitted). The court also

rejected Monsanto’s effort to find traction in preemption cases involving the Food,

Drug & Cosmetic Act. “FDCA regulations don’t ‘give content to FIFRA’s

misbranding standards,’ Bates, 544 U.S. at 453, so they don’t affect the extent to

which FIFRA preempts state law.” Id.

       In March 2019, Hardeman proceeded to a federal jury trial presided over by

the MDL judge for Roundup litigation. The trial resulted in a plaintiffs’ verdict and

an award of $80 million in compensatory and punitive damages (later remitted to

$25 million). Hardeman, 997 F.3d at 950-51. On appeal, Monsanto argued that the

MDL court wrongly failed to dismiss Mr. Hardeman’s claim on grounds of FIFRA

preemption. The Ninth Circuit rejected Monsanto’s express and implied preemption

arguments. Hardeman, 997 F.3d at 954-60. Like the district court, the Court

reasoned that FIFRA and California’s failure-to-warn law were consistent with one



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another, and further holding that EPA’s registration and subsequent reregistration of

glyphosate lacked the “force of law” necessary to establish them as “requirement”

that could have preemptive effect in the first instance. Regarding implied

preemption, the Ninth Circuit agreed that Monsanto had not established any of the

thresholds to show that it would be “impossible” to comply both with FIFRA and

state law providing for adequate warning of glyphosate’s carcinogenicity. The Court

also agreed that no analogy could be found in preemption cases involving the Food,

Drug & Cosmetic Act given the different regulatory schemes that apply under that

statute as compared to the broad latitude that FIFRA affords to manufacturers to

change their labels to comply with FIFRA’s misbranding statute. Hardeman, 997

F.3d at 954-60.

      When Monsanto sought Supreme Court review of the Ninth Circuit’s

preemption analysis, the Supreme Court called for the views of the Solicitor General.

In response, the United States submitted a brief explaining that “EPA’s approval of

labeling that does not warn about particular chronic risks does not by itself preempt

a state-law requirement to provide such warnings.” Appx1071. Regarding express

preemption, the United States explained that the EPA’s registration of a pesticide

without a carcinogenicity warning does not establish a “requirement” that preempts

underlying state law. That is because a “requirement is a rule of law that must be

obeyed, whereas FIFRA does not define exactly the labeling that might be necessary



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and adequate to protect public health and safety.” Appx. 1076-1077. As for implied

preemption, the United States wrote that “neither EPA's repeated statements that

glyphosate is unlikely to be carcinogenic to humans, nor its approval of pesticide

labeling without cancer warnings,” contains sufficient force of law to preempt. 2022

WL 1489462 (U.S.), 13. The United States emphasized that “EPA has recently

issued a letter identifying a proposed glyphosate warning that would not be

considered false or misleading and that EPA could approve if requested for inclusion

on glyphosate product labels.” Id. at 14 (emphasis added). So there is nothing

impossible about a cancer warning on Roundup. The Supreme Court denied

certiorari in June 2022. See Monsanto Co. v. Hardeman, 142 S. Ct. 2834 (2022).

      3.    The MDL court rejected Monsanto’s preemption arguments based
            on its earlier decisions in Hardeman and PTO 101.

      In September 2021, Monsanto moved for summary judgment in this case on

grounds of FIFRA preemption by incorporating preemption motions previously filed

in the Roundup MDL, including those in Hardeman. Appx0006, Appx0765. The

MDL court denied summary judgment “for the reasons set forth in the Court’s prior

orders.” Appx026 (MDL Pretrial Order 273). The MDL court referenced Pretrial

Order 101, which denied both express and implied preemption arguments and

within which the MDL court noted that it had already rejected Monsanto’s express

preemption arguments in Hardeman. Appx0020.




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      By denying FIFRA preemption in Schaffner on the basis of earlier preemption

decisions, Hardeman (affirmed by the Ninth Circuit), the MDL court effectively

incorporated those earlier decisions into the Schaffner analysis. The efficiencies

realized by this approach serve a core purpose of the MDL system—efficient and

coordinated resolution of global issues in MDL litigation. It is apparent that

Monsanto seeks to revisit Hardeman itself.

      4.     Settlement paved the way for this appeal.

      On February 25, 2022, the MDL court remanded Schaffner to the Western

District of Pennsylvania, where Plaintiffs reached an agreement with Monsanto.

Appx0107, Appx0135. Pursuant to the agreement, Plaintiffs filed a consented-to

motion seeking leave to amend their complaint such that the complaint would only

retain Count II (strict liability sounding in failure to warn). Appx0138. The motion

explained that the settlement agreement was subject to a reservation of Monsanto’s

right to appeal limited to the question of federal preemption. Id. The motion attached

as an exhibit a proposed stipulation intended for entry of judgment that would be

filed when the motion for leave was granted. Id.

      The district court granted the motion to amend on September 27, 2022.

Appx0004. Thereafter, the parties filed a Joint Stipulation for Entry of Judgment,

which attached a proposed final judgment stating that judgment would be entered in

Plaintiffs’ favor as to Count II in the amount of $1.00. Appx0140. The Stipulation



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stated that the parties had an understanding that Monsanto intends to appeal “the

prior contested order of the MDL Court, as to the correctness of which the Parties

remain adverse and in disagreement.” Id. It stated that “Monsanto will pay Plaintiff

an agreed amount that depends on the outcome of the appeal, encompasses all

contingencies on appeal, and thereby allows entry of a final judgment by stipulation.

See generally Keefe v. Prudential Prop. & Cas. Ins. Co., 203 F.3d 218 (3d Cir.

2000).” Id. On October 3, 2022, the district court entered judgment on the basis of

the Joint Stipulation. Appx0013. Monsanto now appeals solely for the purpose of

again asserting that FIFRA preempts Plaintiffs’ strict liability claim sounding in

failure to warn. Appx0012.

                      V.     SUMMARY OF ARGUMENT

      Monsanto wants this Court to find that FIFRA both expressly preempts and

impliedly preempts Mr. Schaffner’s common-law claim sounding in failure to warn.

In doing so, Monsanto also is essentially asking this Court to override a decision of

the MDL court that the Ninth Circuit already affirmed in Hardeman. Even if the

MDL’s ruling did not apply here (and it does), this Court should turn down all of

these invitations because they lack merit.

      First, as Hardeman held, there is no express preemption under FIFRA. The

statute’s express preemption clause states only that a state “shall not impose or

continue in effect any requirements for labeling or packaging in addition to or



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different from those required under this chapter.” 7 U.S.C. § 136v(a)-(b). As the

Supreme Court instructed in Bates, Mr. Schaffner’s common-law claim for failure

to warn does not even qualify as a “requirement” because it does not represent a

“rule of law that must be obeyed.” Bates, 544 U.S. at 445. Rather, a jury verdict

holding Monsanto liable for failure to warn “merely motivates an optional decision,”

and thus does not possess the power to preempt. Bates, 544 at 447.

      Express preemption is also inapplicable here because, even if Mr. Schaffner’s

claim did constitute a “requirement” under FIFRA (it doesn’t), that claim does not

impose a legal standard “in addition to or different from” FIFRA’s misbranding

provision, 7 U.S.C. § p§ 136(q)(1)(G), because it directly parallels and reinforces

that section of FIFRA. Under the misbranding provision, a label violates FIFRA

when it lacks “a warning or caution statement . . . adequate to protect health and the

environment.” Id. This language mirrors Pennsylvania’s standard for proving strict

liability sounding in failure to warn, which requires a plaintiff to show that the

product lacked “sufficient warnings to notify the ultimate user of the dangers

inherent in the product.” See Phillips v. A-Best Products Co., 665 A.2d 1167, 1171

(Pa. 1995). So the preemption argument fails on this ground as well. Nor do EPA’s

registration decisions compel express preemption, because FIFRA itself deems EPA

actions only to represent “prima facie” evidence of FIFRA compliance rather than a

conclusive presumption that could represent to “a rule of law that must be obeyed.”



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Bates, 544 U.S. at 445. Under FIFRA, only a duly promulgated regulation can

theoretically possess the power to preempt—and there is no such regulation at issue

here.

        Monsanto’s implied preemption also fails. Monsanto has not provided “clear

evidence” that it would be “impossible” for Monsanto to comply with FIFRA while

also paying a monetary judgment upon a jury verdict in this case. Under Merck Sharp

& Dohme Corp. v. Albrecht, 139 S. Ct. 1668 (2019), to meet the heavy burden of

showing impossibility, a manufacturer must present “clear evidence” that (1) the

manufacturer fully informed the agency of the justifications for the warning that

would be required by state law; (2) the agency informed the drug manufacturer that

the FDA would not approve the change; and (3) the agency action at issue

“carr[ies]the force of law.” Id. at 1679. Monsanto has not presented “clear evidence”

(or any evidence) that any of these exist here. Monsanto has never “fully informed”

EPA of the need for a cancer warning. In fact, it has done the precise opposite by

hiding evidence of Roundup’s dangers for over half a century. Further, the agency

action that Monsanto cites as evidence that EPA would reject such a warning (the

August 2019 letter) has been disavowed by EPA itself in an earlier letter from 2017

and its later letter of April 2022 letter approving Proposition 65 language warning

of glyphosate’s potential to cause cancer, Appx0208, Appx1045, Appx1490




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      Not only do Monsanto’s preemption arguments fail on their merits, but the

Court should never reach those arguments in the first instance. Monsanto already

litigated these arguments in Hardeman, where the Ninth Circuit ruled against

Monsanto as a necessary part of affirming judgment in the plaintiff’s favor. The

Hardeman result along with Pretrial Order 101 are embedded in the MDL court’s

denial of summary of judgment in Schaffner. So Monsanto does more than seek to

relitigate an issue that has been previously addressed. It seeks to relitigate the MDL-

wide rejection of these preemption arguments as affirmed by a federal circuit court.

The Court should apply principles of issue preclusion, and law of the case, to prevent

Monsanto from undermining the integrity of MDL 2741 with respect to adjudicated

pre-trial issues with global sweep.

                                VI.    ARGUMENT

A.    FIFRA does not expressly preempt Mr. Schaffner’s claim sounding in
      failure to warn.

      1.     The standard of review

      This Court exercises de novo review over questions of preemption. See

Sikkellee v. Precision Airmotive Corp., 822 F.3d 680, 687 (3d Cir. 2016).

      2.     FIFRA’s express preemption language does not bar Plaintiff’s
             failure-to-warn claim.

      FIFRA preempts state laws that “impose or continue in effect any

requirements for labeling or packaging in addition to or different from those required



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under this subchapter.” 7 U.S.C. § 136v(b). In Bates, the Supreme Court explained

that a two-part test applies to determine whether FIFRA preempts a given state law.

Bates, 544 U.S. at 444. First, the state law must be a “requirement” for labeling or

packaging. Id. (quoting § 136v(b)). Second, the state law must impose a labeling or

packaging requirement that is “in addition to or different from” those required by

FIFRA. Id. (quoting § 136v(b)).

      Under this framework, Mr. Schaffner’s failure-to-warn claim is not expressly

preempted by FIFRA. First, Mr. Schaffner’s common-law claim does not impose a

“requirement” under FIFRA because it does not represent a “rule of law that must

be obeyed” such as duly promulgated federal regulation. Bates, 544 U.S. at 445;

Wyeth v. Levine, 555 U.S. 555, 576 (2009). Bates distinguished a requirement for

purposes of FIFRA from a common-law claim that produces a jury verdict that

“merely motivates an optional decision” by the defendant to enhance its warnings.

Bates, 544 at 447. Bates added that “[t]he long history of tort litigation against

manufacturers of poisonous substances adds force to the basic presumption against

preemption.” Id. at 449-50. The history of litigation instead “emphasizes the

importance of providing an incentive to manufacturers to use the utmost care in the

business of distributing inherently dangerous items.” Id. The Court concluded that

“[i]f Congress had intended to deprive injured parties of a long available form of

compensation, it surely would have expressed that intent more clearly.” Id.



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       Mr. Schaffner’s claim may subject Monsanto to liability, but the imposition

of liability does not compel Monsanto to change its marketing practices, to obey a

different set of legal obligations, or to do anything other than pay a money judgment.

So while FIFRA provides for preemption of state-law “requirements,” Mr.

Schaffner’s common-law claim is not a “requirement” for FIFRA purposes in the

first place. Id.

       Second, a Pennsylvania common-law claim sounding in failure to warn does

not impose a requirement that is “in addition to or different from” any provision of

FIFRA. In Bates, the Supreme Court made clear that common-law duties are not ‘in

addition to or different from” FIFRA’s misbranding provision if they are “equivalent

to and fully consistent with” that provision. Bates, 544 U.S. at 447. A state law meets

this condition when it imposes “parallel requirements” such that a violation of the

state law also would violate FIFRA. Id. at 454. Thus, the state law need not be

phrased in the identical language as the misbranding provision. Id. The state law

need only be “equivalent” to its federal counterpart. Id.

       Here, FIFRA’s misbranding provision and the elements of a Pennsylvania tort

claim sounding in failure-to-warn mirror each other. The misbranding provision

requires a pesticide label to “contain a warning or caution statement which may be

necessary and if complied with . . . is adequate to protect health and the

environment.” 7 U.S.C. § 136(q)(1)(G). The requirement of adequacy does not turn



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on the manufacturer’s subjective knowledge about the pertinent risks. In the manner

reminiscent of strict liability, misbranding occurs anytime a pesticide label fails to

contain an “adequate” warning about a product’s health risks. Id.

      By way of comparison, under Pennsylvania law,14 strict liability allows a

plaintiff to recover for injuries caused by a product in “a defective condition

unreasonably dangerous to the user or consumer.” Phillips, 665 A.2d at 1171. To

prove strict liability sounding in failure to warn, the plaintiff must show that the

product lacked “sufficient warnings to notify the ultimate user of the dangers

inherent in the product.” Id. In other words, the plaintiff must prove that the warning

of a particular danger was “either inadequate or altogether lacking.” Id.; see

generally Avvo Corp., 610 A.2d 454, 458-59 (Pa. 1992) (explaining Pennsylvania

law that a product requires “adequate warnings or instructions necessary for safe

use”); Mackowick v. Westinghouse Electric Corp., 575 A.2d 100, 102-03 (Pa. 1990)

(reviewing Pennsylvania’s law of strict liability sounding in failure to warning

dating back to the Commonwealth’s embrace of strict liability in 1966); High v.

Pennsylvania Supply, Inc., 154 A.3d 341, 351 (Pa. Super. 2017) (reversing summary

judgment and reinstating claim for strict liability sounding in failure to warn);



14Pennsylvania law applies since Mr. Schaffner lives and used Roundup in
Pennsylvania. See Stange v. Janssen Pharmaceuticals, Inc., 179 A.3d 45, 65 (Pa.
Super. 2018) (citing Griffith v. United Air Lines, Inc., 203 A.2d 796, 805 (Pa. 1964)).



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Commonwealth v. Monsanto Co., 269 A.3d 623, 664-67 (Pa. Cmwlth. 2021)

(overruling Monsanto’s objections to the Commonwealth’s strict liability claim

sounding in failure to warn).

      These different legal regimes may use different language, but both

formulations turn on the objective inadequacy of a product’s warning. If anything,

Pennsylvania’s strict liability claim imposes a stricter framework than the

misbranding standard in FIFRA given the need to prove the adequacy of warnings

to an ultimate user, and especially given the practical reality that to full prove the

full tort of strict liability sounding in failure to warn, a plaintiff must prove not only

breach of duty (equivalent to the misbranding standard) but also that the inadequate

warnings caused damages to a specific individual. 15 At a minimum, Pennsylvania’s

failure-to-warn claim affirmatively enforces FIFRA’s misbranding prohibition by

providing a method for accountability where product labels lack adequate warning

about human health risks. Express preemption does not exist where there is

equivalency between FIFRA and common-law claims. See Bates, 544 U.S. at 447-

48, 454; see also Medtronic v. Lohr, 518 U.S. 479, 495 (1996) (explaining that a

narrower state-law rule does not provide grounds for preemption).


15 California law requires proof that a manufacturer failed to warn of a health risk

that is “known or knowable.” See Conte v. Wyeth, Inc., 168 Cal. App. 4th 89 (2008);
Hardeman, 997 F.3d at 955 (concluding that California law involved a narrower
standard than FIFRA’s misbranding statute).



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      The unavailability of preemption over Mr. Schaffner’s state-law claim is

underscored by FIFRA’s provision that registration represents only “prima facie

evidence” that a pesticide’s labeling comply with FIFRA. 7 U.S.C. § 136a(f)(2).

FIFRA also provides that “[i]n no event shall registration of an article be construed

as a defense for the commission of any offense under this subchapter. Id. So

Congress made clear that even registration is at best a “rebuttable presumption” that

a pesticide’s label complies with FIFRA. Hardeman, 997 F.3d at 957. And that

makes sense, since FIFRA’s misbranding provision and supporting regulations

specifically require manufacturers to report “additional factual information

regarding unreasonable adverse effects” of the pesticide. 7 U.S.C. § 136d(a)(2); 40

C.F.R. § 159.152 (the duty to report additional information). These provisions would

serve no purpose if registration equated to proof of compliance with FIFRA’s

misbranding provision. As the Ninth Circuit wrote in Hardeman, “[i]t would defy

logic to say a rebuttable presumption carries the force of law necessary to have

preemptive effective, as doing so would deny any ability to rebut the presumption.”

Hardeman, 997 F.3d at 956.

      Given this statutory framework, EPA actions concerning Roundup—whether

registering the product initially or making tentative assessment of safety based on

available evidence—necessarily lack weight to anchor express preemption of Mr.

Schaffner’s claim. As noted in Bates, a “requirement” is a “rule of law that must be



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obeyed.” Bates, 544 U.S. at 445. Here, FIFRA’s express language makes clear that

even EPA’s approval of a label during registration raises at best a “prima facie” case

of adequacy under FIFRA’s misbranding provision. EPA’s labeling determinations

lack the capacity to have preemptive effect when FIFRA itself provides that those

determinations simply are not dispositive of FIFRA compliance. “And because

EPA’s labeling determinations are not dispositive of FIFRA compliance, they

similarly are not conclusive as to which common law requirements are ‘in addition

to or different from’ the requirements imposed by FIFRA.” Hardeman, 997 F.3d at

956; Bates, 544 U.S at 541 (“Private remedies that enforce federal misbranding

requirements would seem to aid, rather than hinder, the functioning of FIFRA”);

Indian Brand Farms, Inc. v. Novartis Crop Protection, Inc., 617 F.3d 207, 222 (3d

Cir. 2010) (Bates established that “the mere inconsistency between the duty imposed

by state law and the content of a manufacturer’s labeling approved by EPA at

registration did not necessarily mean that the state law duty was preempted.”).

Monsanto’s express preemption arguments fail accordingly.

      3.     Monsanto’s contrary arguments lack merit.

      In seeking reversal, Monsanto argues that when EPA registered Roundup

without requiring a health warning regarding carcinogenicity, EPA necessarily

determined that such a warning was improper, and hence that a common-law claim

for failure to warn about Roundup’s carcinogenicity would impose an “additional”



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requirement and be preempted under 7 U.S.C. § 136v(b). See Monsanto brief at 28-

30. To advance this argument, Monsanto relies on Bates (interpreting FIFRA),

Riegel v. Medtronic, Inc., 552 U.S. 312 (2008) (interpreting the Medical Device

Amendments of the Food, Drug & Cosmetic Act), and Cohen v. ConAgra Brands,

Inc., 16 F.4th 1283 (9th Cir. 2021) (interpreting the Poultry Products Inspection

Act). See id. at 30-36.

      This line of argument does not support express preemption. As noted above,

FIFRA does not endow registration with the gravity to support preemption of state-

law claims. It instead provides that “[i]n no event shall registration of an article be

construed as a defense for the commission of any offense under this subchapter,”

and that registration is merely “prima facie evidence that the pesticide, its labeling

and packaging comply with the registration provisions of the subchapter.” 7 U.S.C.

§ 136a(f)(2). Rather than give registration any conclusive significance, FIFRA

provides that a registered product can be deemed misbranded if the label “does not

contain adequate instructions for use, or if its label omits necessary warnings of

cautionary statement.” Bates, 544 U.S. at 438 (citing 7 U.S.C. § 136(q)(1)(F), (G)).

Separate from federal remedies, in an exercise of collaboration with the states,

FIFRA also explicitly authorizes the states to “regulate the sale or use of any

federally registered pesticide” provided that the state regulation does not permit a

sale or use prohibited by FIFRA. 7 U.S.C. § 136v(a).



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      Given this statutory framework, Monsanto’s puts far more weight on EPA’s

glyphosate-related actions than they can bear as a matter of law. In addition, EPA

has not barred cancer warnings on glyphosate-containing products. As noted above,

EPA authorized a cancer warning on such products in 2017, and then sent the April

2022 letter to OEHHA approving Proposition 65 language warning about

glyphosate’s carcinogenicity. Appx0208, Appx1485, Appx1490. Further, there is no

meaningful difference between FIFRA’s misbranding standard and a Pennsylvania

tort claim sounding in failure to warn. Both require warnings to adequately notify

about the dangers inherent in the product. Cf. Phillips, 665 A.2d at 1171 with 7

U.S.C. § 136(q)(1)(F). Express preemption is improper for all these reasons.

      Monsanto’s focus on the EPA’s August 2019 letter illustrates the weakness of

its preemption argument. First, that letter has since been disavowed by EPA itself.

That aside, this Court has rejected the idea “that federal law capable of preempting

state law is created every time someone acting on behalf of an agency makes a

statement or takes an action within the agency’s jurisdiction.” Fellner v. Tri-Union

Seafood, L.L.C., 539 F.3d 237, 245 (3d Cir. 2008) (finding that an agency letter lacks

force to preempt). The Supreme Court has added that “[i]t is fair to assume generally

that Congress contemplates administrative action with the effect of law when it

provides for a relatively formal administrative procedure tending to foster the

fairness and deliberation that should underlie a pronouncement of such force.”



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United States v. Mead Corp., 533 U.S. 218, 230 (2001). So it matters that the August

2019 letter “was not the product of any formal proceedings, was not published in the

Federal Register, did not cite any new scientific findings, and took no position on

whether Roundup causes cancer.” Hardeman, 997 F.3d at 952. Further, the letter

was followed by EPA’s April 2022 letter explaining approving a revised Proposition

65 warning that referenced both the IARC’s assessment that glyphosate is probably

carcinogenic and the EPA’s assessment (now vacated) that glyphosate is not likely

to be carcinogenic. Appx1045. The August 2019 letter fails to compel preemption

for all of these reasons.

      Monsanto’s reliance on EPA’s 2020 Interim Decision re-registering

glyphosate underscores the weakness of Monsanto’s express preemption argument.

This document states that “there are no risks to human health from the current

registered uses of glyphosate and that glyphosate is not likely to be carcinogenic to

humans.” Appx0234-0235. This health assessment resulted in a legal challenge,

which resulted in a Ninth Circuit opinion finding that (a) EPA’s reasoning

represented “the hallmark of arbitrary action;” (b) the “no risk” statement conflicted

with the factual record and the agency’s own internal guidelines; and (c) that EPA’s

health assessment was unsupported by substantial evidence and had to be vacated.

NRDC, 38 F.4th at 46, 51. In addition to having been vacated, the 2020 Interim

Decision’s assessment of glyphosate’s carcinogenicity cannot have the “force of



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law” when at best it represents a view of scientific evidence rather than a statutory

provision or duly promulgated regulation. Id.

      Finally, Monsanto misplaces its reliance on Bates, Riegel, and Cohen. Of

course, Bates is the leading Supreme Court case on the FIFRA preemption and

makes clear the narrow scope of such preemption. In Bates, the Court explained that

FIFRA might preempt a state law that would impose a labeling requirement “that

diverges from those set out in FIFRA and its implementing regulations.” Bates, 544

U.S. at 452. For example, FIFRA might preempt a law insisting that a pesticide label

state the word “DANGER” when a federal regulation already has assigned

classifications for pesticides and has assigned the term “CAUTION” to that

pesticide; absent preemption, the state law would override the federal regulatory

scheme. Id. at 453. But Monsanto’s argument for preemption does not depend on

requirements imposed by a duly promulgated federal regulation. It turns on EPA

registration decisions that at best represent “prima facie” evidence of compliance

with the misbranding standard and necessarily lack the “force of law” that could

trigger preemption in the first instance. See 7 U.S.C. § 136a(f)(2); Hardeman, 997

F.3d at 956-57 (citing Wyeth, 555 U.S. at 576)). Thus, Monsanto’s invocation of

Bates only serves to prove the lack of preemption here.

      Monsanto’s reliance on Riegel is similarly misplaced. There, the Supreme

Court considered express preemption under the Medical Device Amendments to the



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Food, Drug & Cosmetic Act when the FDA approves a Class III medical device

pursuant to FDA’s rigorous process for “premarket approval. See Riegel, 522 U.S.

at 322-30. The Court explained that the Medical Device Amendments had “swept

back” state obligations and imposed “a regime of detailed federal oversight.” Id. at

316. It explained the FDA’s granting of premarket approval already served as

“conclusive evidence” that the approved form of a Class III medical device

“provides a reasonable assurance of safety and effectiveness.” Id. at 323. The Court

also explained that premarket approval “is federal safety review.” Id. at 233

(emphasis in original). By contrast, registration amounts only to “prima facie”

evidence of compliance with FIFRA’s misbranding provisions, while FIFRA also

provides for a “decentralized scheme” that leaves the states with significant power

to regulate pesticides. See Bates, 544 U.S. at 450; 7 U.S.C. §§ 136a(f)(2), 136v(b).

Riegel thus underscore that express preemption is not appropriate here.16


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   It is apparent why Congress chose to regulate Class III medical devices more
rigorously than pesticides, as these devices are “purported or represented to be for a
use in supporting or sustaining human life or for a use which is of substantial
importance in preventing impairment of human health.” 21 U.S.C. § 360c(a)(1)(C).
In 21 U.S.C. § 360c(a)(1)(C). Congress foreclosed compensation of injured persons
through the state tort system to encourage the manufacture of federally approved
devices. Id. FIFRA’s structure represents a different legislative choice stemming
from the fact that insecticides, fungicides, and rodenticides cannot be tested on
humans by their very nature. That fact limits the ability of regulatory entities to
conclusively assess whether s product will be hazardous to human health. Unlike
with medical devices, no human health concern can spring from over-warning about
a pesticide’s dangers.



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      Monsanto argues that reading Bates and Riegel together produces the

conclusion that FIFRA registration along with EPA’s determinations concerning

glyphosate’s carcinogenicity collectively amounts to a “requirement” for purposes

of FIFRA preemption. See Monsanto’s brief at 34-35. This argument is again belied

by FIFRA’s language that the registration amounts only to “prima facie” evidence

that the pesticide’s labeling complies with FIFRA’s misbranding statute, which

makes clear that registration represents at best a rebuttable presumption and lacks

the “force of law” to support express preemption. 7 U.S.C. § 136a(f)(2). Monsanto’s

argument is further belied by EPA’s April 2022 letter endorsing a cancer warning to

be used in California’s Proposition 65 language. Nothing more clearly shows that

Mr. Schaffner’s claim is not expressly preempted under § 136v(b) than EPA’s own

conclusion that an enhanced warning is consistent with FIFRA’s misbranding

provision. Appx1045.

      Monsanto also misplaces its reliance on cases involving meat inspection. In

Cohen, a consumer brought claims under California law alleging that the producer

of chicken products had falsely advertised its products as natural and preservative-

free. The main question on appeal was whether the record contained sufficient

evidence to support the district court’s finding that chicken labels has been approved

by the Food Safety Inspection Service. The Ninth Circuit remanded for fact-finding.

Cohen, 16 F.4th at 1287-90. Along the way, the Court explained that the Poultry



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Product Inspection Act broadly preempts state laws regarding “marking, labeling,

packaging, or ingredient requirements in addition to, or different than, those made

under this chapter.” Id. at 1287 (citing 21 U.S.C. § 467(e)). In Thornton v. Tyson

Foods, Inc., 28 F.4th 1016 (10th Cir. 2022), the Tenth Circuit reviewed identical

preemption language in the Federal Meat Inspection Act and explained that the

language “sweeps widely” so as to prevent a state from imposing even

nonconflicting rules or meat packaging and labeling. Id. at 1025. In contrast to those

“sweep[ing]” provisions, FIFRA preemption only bars a “statutory or common-law

rule imposing a labeling requirement divergent from those set out in FIFRA and its

implementing regulations.” Bates, 544 U.S. at 452. Cohen and Thornton illustrate

the narrowness of FIFRA preemption. They confirm that Monsanto’s express

preemption arguments should be rejected here, as they were rejected in Hardeman.

B.    FIFRA does not impliedly preempt Mr. Schaffner’s claim sounding in
      failure to warn.

      1.     The standard of review

      This Court exercises de novo review over questions of preemption. See

Sikkellee, 822 F.3d at 687.

      2.     Implied preemption is not available under FIFRA.

      “The purpose of Congress is the ultimate touchstone in every preemption

case.” Wyeth, 555 U.S. at 565 For this reason, in all preemption cases, and

particularly where Congress has legislated in a field that the States have traditionally


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occupied (such as public health and safety), every preemption analysis starts with

the assumption that federal law does not supersede the historic police powers of the

States unless that result was the “clear and manifest purpose of Congress.” Id.

(citations and internal quotation marks omitted).

      Here, there exists no debate about the scope of FIFRA preemption. Congress

expressed its preemptive intent through § 136v(b), which states that preemption

exists only where a state imposes “requirements for labeling or packaging in addition

to or different from those required under this subchapter.” 7 U.S.C. § 136v(b). That

should end the analysis. The Supreme Court’s decision in Bates also shows the

incongruity of any purported implied preemption argument under FIFRA. In Bates,

the defendant made both implied preemption and express preemption arguments.

See Bates v. Dow AgroSciences LLC, No. 03-388 (U.S. Nov. 24, 2004), Brief for the

Respondent 36-37, 2004 WL 2758217. When deciding Bates, the Supreme Court

focused on express preemption alone. Justice Thomas observed in his concurrence

that the Court’s refusal to engage implied preemption doctrine “comports with this

Court’s increasing reluctance to expand federal statutes beyond their terms through

the doctrine of implied preemption.” Bates, 544 U.S. at 459 (Thomas, J., concurring

in the judgment in part and dissenting in part). This reading of Bates comports with

FIFRA’s “narrow” preemption clause. Id. at 452.




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      In Cipollone v. Liggett Group, Inc., 505 U.S. 504 (1992), the Supreme Court

stated that “[w]hen Congress has considered the issue of preemption and has

included in the enacted legislation a provision explicitly addressing that issue, and

when that provision provides a ‘reliable indicium of congressional intent with

respect to state authority,’ there is no need to infer congressional intent to preempt

state laws from the substantive portions of the legislation.” Id. at 517 (citations

omitted). Since Cipollone, this Court has held that implied preemption can exist

independent of express preemption in limited circumstances, Fellner, 539 F.3d at

249. But those circumstances do not exist where the Supreme Court effectively

foreclosed the issue and where Congress’ intent is clearly set forth in narrow terms

that foreclose preemption as a matter of statutory construction. The Court should not

allow forge a pathway through the doctrine of implied preemption that circumvents

Congress’ express language. It should follow the lead of Cipollone and Bates by

viewing Congressional intent as fully expressed through § 136v(b).

      3.     FIFRA does not impliedly preempt Plaintiff’s claim under
             impossibility preemption.

      If implied preemption can apply, it still would not nullify Mr. Schaffner’s

claim anyway. Monsanto argues for “impossibility” preemption, under which a state

law is preempted when it is impossible for a private party to comply with both state

and federal requirements. See Merck Sharp & Dohme Corp. v. Albrecht, 139 S. Ct.

1668, 1678-79 (2019). Under Merck, to demonstrate that it would be “impossible”


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to comply with federal law while also complying with state law, Monsanto must

present “clear evidence” that (1) EPA was “fully informed” of the justifications for

the warnings that the Schaffners claim are required under Pennsylvania law; (2) EPA

informed Monsanto that “it would not approve changing the . . . label to include that

warning;” and (3) EPA”s actions “carries the force of law.” Id.

      Monsanto cannot establish any of these elements to establish “impossibility”

preemption. First, “clear evidence” does not exist that Monsanto ever fully informed

EPA about the reasons to warn consumers of the cancer risks associated with

Roundup. If anything, the clear evidence points the opposite direction. As noted

above, Monsanto has only tested glyphosate and has never conducted or submitted

to EPA any testing of formulated Roundup including the surfactants that amplify

glyphosate’s effects and renders Roundup far more carcinogenic than glyphosate

alone. See infra, pp. 6-13. Further, Monsanto has spent decades actually hiding the

carcinogenicity of glyphosate from the EPA and the public. In the 1970s, Monsanto

provided EPA with studies containing falsified information concerning glyphosate’s

toxicity. Id. In the 1980s, Monsanto convinced the EPA to abandon its finding that

glyphosate causes cancer in mice. Id. In the 1990s, when Monsanto’s genotoxicity

consultant Dr. Parry advised Monsanto that recent studies indicated that glyphosate

could be genotoxic and recommended that more studies be performed, Monsanto hid

those recommendations from EPA (in violation of FIFRA), did not perform the



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recommended studies, and ghost-wrote a significant article denying a connection

between glyphosate and health risks to humans. Id. Monsanto later viewed the article

as “invaluable asset” when responding to regulatory agencies including EPA and

described the article as a “valuable resource” when responding to product liability

claims. Id. And in the 2010s, Monsanto fought concerns that the surfactant POEA

could contribute to glyphosate’s genotoxicity and did not perform studies on the

issue. Id. In short, there is no “clear evidence” that Monsanto sought to put concerns

about Roundup’s carcinogenicity before EPA. So Merck’s first prong is not met.

      Second, clear evidence does not exist that EPA told Monsanto that it would

disapprove a proposal to warn about glyphosate’s cancer risk. As a starting point,

Monsanto never asked EPA to consider an enhanced warning. But had Monsanto

asked, one need not speculate on what EPA would do. In 2017, EPA approved

pesticide labels with the Proposition 65 glyphosate cancer warning. Appx0208. After

EPA changed its mind in the August 2019 letter, EPA wrote in April 2022 that

indeed it could approve a Proposition 65 warning on Roundup that referenced the

IARC’s assessment that glyphosate was probably carcinogenetic. Appx1045,

Appx1490. These EPA actions point to possibility and supportive decisions that

enable adequate public warning about the health risks of Roundup. So Merck’s

second prong is not met either.




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      Finally, EPA’s actions concerning glyphosate—most notably the August

2019 letter—simply do not carry the force of the law. Under FIFRA, registration

only establishes a “prima facie” case of compliance with FIFRA’s labeling

standards—one that is rebuttable with additional information. 7 U.S.C. § 136a(f)(2)

(registration shall not “be construed as a defense for the commission of any offense”

under FIFRA). So EPA’s registration (and reregistration) of Roundup without a

cancer warning would not possess the power to preempt, even had the EPA’s

assessment about glyphosate’s carcinogenicity not been invalidated by the Ninth

Circuit in NRDC, supra.

      The August 2019 letter also does not carry the “force of law” given that the

letter was issued without written notice, without a hearing or opportunity to respond,

and without any associated fact-finding process. See Hardeman, 997 F.3d at 956-57

(rejecting Monsanto’s argument that EPA’s glyphosate-related actions carry the

force of law); Merck, 139 S. Ct. at 1679 (only agency actions taken pursuant to

Congressional delegated authority could endow the agency the agency with the

power to act); Mead, 533 U.S. at 230 (“Congress contemplates administrative action

with the effect of law when it provides for a relatively formal administrative

procedure tending to foster the fairness and deliberation that should underlie a

pronouncement of such force.”). Further, whatever weight the August 2019 letter

might have enjoyed was nullified by EPA’s actions in 2017 and 2022 approving



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warnings that advised of glyphosate’s potential to cause cancer. Appx0208,

Appx1045, Appx1490.

      On top of all of this, in Hardeman, the United States itself confirmed that it

was not impossible for Monsanto to provide an enhanced warning while also

complying the FIFRA. Appx1060. The United States explained that even EPA’s

assessment that glyphosate was unlikely to be a human carcinogen and its

subsequent August 2019 letter did not actually foreclose Monsanto from providing

additional chronic-risk warnings—e.g., a warning consistent with the Proposition 65

language that EPA itself approved in April 2022. Appx1079-1081. When EPA itself

(through the Solicitor General) says that an enhanced warning is not impossible, that

is good evidence that Monsanto also has failed to prove Merck’s third prong.

      In addition, Monsanto wrongly argues that it was unable to enhance a warning

without EPA’s prior approval. As the Ninth Circuit explained in Hardeman, a

manufacturer can make minor modifications to labeling that have “no potential to

cause unreasonable adverse effects to the environment” without prior EPA approval

if EPA is notified of the change. See Hardeman, 997 F.3d at 959-960 (discussing 40

C.F.R. § 152.46(a)). Even under EPA’s general labeling rules, a manufacturer may

change a pesticide label by drafting and submitting a revised label to EPA; the

registration “shall” be amended to reflect the change upon an EPA determination

that the proposed change does not violate FIFRA. 7 U.S.C. § 136a(f)(1). In any



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event, Monsanto never applied for any such label change. Monsanto’s failure to act

does not equate to impossibility. For these reasons as well, it was not impossible for

Monsanto to add a cancer warning to the Roundup label. See Wyeth, 555 U.S. at 573

(impossibility preemption is a “demanding defense”).

C.    Monsanto’s preemption arguments are foreclosed by principles of issue
      preclusion and law of the case.

      1.     The standard of review

      This Court does not have a definitive standard of review regarding the

application of collateral estoppel. See Witkowski v. Welch, 173 F.3d 192, 198 n.7 (3d

Cir. 1999) (reviewing decisions applying abuse of discretion or de novo standards

of review). Here, the MDL court did not expressly consider the issue preclusion in

the first instance. Issue preclusion instead raises an alternative ground for affirmance

that the Court may exercise in its discretion. See In re: Asbestos Products Liability

Litig. (No. VI), 873 F.3d 232, 240 (3d Cir. 2017). This case presents a significant

circumstance for the exercise of that discretion.

      2.     Monsanto’s arguments are precluded by Hardeman.

      Collateral estoppel derives from the legal principle that “later courts should

honor the first actual decision of a matter that has been actually litigated.” 18 Charles

A. Wright, Arthur R. Miller & Edward H. Cooper, Federal Practice and Procedure §

4416 (1981). As the Supreme Court has written, “the usual rule is that merits of a

legal claim once decided in a court of competent jurisdiction are not subject to


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redetermination in another forum.” Kremer v. Chemical Constr. Corp., 456 U.S.

461, 485 (1982). Under this rule, “a losing litigant deserves no rematch after a defeat

fairly suffered, in adversarial proceedings, on an issue identical in substance to the

one he subsequently seeks to raise.” Astoria Fed. Sav. & Loan Ass’n v. Solimino,

501 U.S. 104, 107 (1991). This Court also has explained that “once an issue is

actually and necessarily determined by a court of competent jurisdiction, that

determination is conclusive in subsequent suits based on a different cause of action

involving a party to the prior litigation.” Delaware River Port Authority v. Fraternal

Order of Police, 290 F.3d 567, 572 (3d Cir. 2002); Jean Alexander Cosmetics, Inc.

v. L’Oreal USA, Inc., 457 F.3d 244, 254-55 (3d Cir. 2006) (emphasizing the “vital

interest” in protecting “judicial determinations that were the products of costly

litigation and careful deliberation”).

      Borrowing from the Second Restatement of Judgments, this Court has

explained that “[w]hen an issue of fact or law is actually litigated and determined by

a valid and final judgment, and the determination is essential to the judgment, the

determination is conclusive in a subsequent action between the parties, whether on

the same of a different issue.” Jean Alexander, 458 F.3d at 249 (quoting Restatement

(Second) of Judgments § 27 (1982)). Under this framework, issue preclusion is not

confined to circumstances where the parties are completely identical. Issues

preclusion may apply offensively against a party that was subject to a valid and final



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judgment when the asserting party was not involved in that prior case. This “non-

mutual offensive collateral estoppel” operates to prevent the earlier-bound party

from relitigating an issue when (1) the issue sought to be precluded is the same as

that involved in the prior action; (2) that issue was actually determined; (3) it was

determined by a final and valid judgment; and (4) the determination was essential to

the prior judgment. Home Depot USA, Inc. v. Lafarge North America, Inc., 59 F.4th

55, 63 (3d Cir. 2023); Witkowski, 173 F.3d at 199-200 (mutuality is not required for

the application of collateral estoppel).

      Here, Monsanto argues that FIFRA preempts a common-law claim sounding

in failure to warn after appealing the MDL court’s order denying summary judgment

dated February 25, 2022. Appx0026, Appx0767. In that order, the MDL court

explained that it denied Monsanto’s preemption arguments for the reasons set forth

in earlier orders including Pretrial Order 101, which also rejected Monsanto’s

preemption arguments while noting that the Court also had rejected Monsanto’s

preemption arguments in Hardeman. Appx0020. Of course, in Hardeman, the MDL

court’s preemption ruling was affirmed by the Ninth Circuit upon an extensive

analysis that addressed (and rejected) the same preemption arguments that Monsanto

again makes in this case. See Hardeman, 997 F.3d at 954-60.

      The MDL court did not address estoppel when denying summary judgment

order in Schaffner. The concept that the MDL court had made a global decision that



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applied to all MDL 2741 cases was completely obvious. The only natural way of

applying the global import of the MDL court’s global rejection of Monsanto’s

preemption arguments was to explain the decision in Schaffner as consistent with

prior orders anyway. But Monsanto having undertaken this appeal, issue preclusion

should apply to Monsanto’s effort to relitigate the MDL court’s prior decisions.

      Of the four criterial that govern issues preclusion, three of them

unquestionably have been met: (2) Monsanto’s express and implied arguments were

actually determined by the Ninth Circuit in Hardeman; (3) those preemption issues

were determined by a final and valid judgment (underscored by the Supreme Court’s

denial of certiorari); and (4) those determinations were necessary to the judgment in

Mr. Hardeman’s favor. See Home Depot, 59 F.4th at 63 (3d Cir. 2023) (stating the

four-part test for collateral estoppel).

      Only the first prong— whether “the issue sought to be precluded is the same

as that involved in the prior action”—remains to be assessed. The Third Circuit

provides a clear framework for evaluating this prong. “Identity of the issue is

established by showing that the same general rules govern both cases and that the

facts of both cases are indistinguishable as measured by those rules.” Suppan v.

Dadonna, 203 F.3d 228, 233 (3d Cir. 2000); McKenna v. Metropolitan Life. Ins. Co.,

126 Fed. Appx. 571, 576 (3d Cir. 2005) (same). The test can be parsed into two




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sections: whether the same general rules govern both cases, and whether the facts

are indistinguishable as measured by those rules.

      Initially, the same rules govern the preemption arguments that Monsanto

advanced in Hardeman and advances here. FIFRA is the same. So are the cases that

assess the scope of FIFRA preemption such as Bates. Monsanto has effectively

appealed Hardeman itself as incorporated into Pretrial Order 101 and thence into the

Schaffner summary judgment order. Monsanto’s arguments are also largely identical

to those it raised in Hardeman. In both cases, Monsanto argues that FIFRA expressly

and impliedly preempts a common-law claim for failure to warn based on EPA’s

actions concerning the registration of glyphosate and the agency’s assessments of

glyphosate’s carcinogenicity. See Hardeman, 997 F.3d at 954-60; Appellant’s brief

at 24-57. As in Hardeman, Monsanto argues that EPA’s prior labelling approvals

amount to “requirements” of federal law that override Mr. Hardeman’s and Mr.

Schaffner’s claims under state law. As in Hardeman, Monsanto argues that liability

for failing to provide a warning of carcinogenicity equates to a “requirement” that is

“in additional” to what FIFRA required and hence Mr. Schaffner’s claims are void

from the outset. Id.

      While Hardeman and Schaffner involve different state law, there exists hardly

any difference between California and Pennsylvania law in terms of their substantive

standards for pursuing a strict liability claim sounding in failure to warn. The



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Pennsylvania version requires proof that the subject product lacked “sufficient

warnings to notify the ultimate user of the dangers inherent in the product” such that

the plaintiff must prove that the warning of a particular danger was “either

inadequate or altogether lacking.” Phillips, 665 A.2d at 1171. California’s

counterpart similarly requires a manufacturer to warn of any health risk that is

“known or knowable.” Conte, 85 Cal. Rptr. 3d at 310. If anything, Pennsylvania law

is narrower than California law (and FIFRA). So the legal questions posed by

Hardeman and this case are exactly the same. The answer provided in Hardeman

must be the same as well. Which makes sense, since Monsanto is effectively

appealing the Hardeman order as incorporated into the Schaffner ruling.

      The “second bite at the apple” character of Monsanto’s appeal is underscored

by the fact that Monsanto devotes nine pages of its brief to now arguing Hardeman

was wrongly decided. See Appellant’s brief at 42-49. When Monsanto takes aim at

Hardeman, Monsanto is criticizing an MDL judge’s decision that applies across

MDL 2741 including this case. As the MDL court explained in its order denying

summary judgment, the Court relied on earlier-entered orders such as Pretrial Order

101 (which incorporated Hardeman) in order “[t]o avoid relitigating issues

previously ruled upon by the Court.” Appx0026. Monsanto’s appeal should be

deemed foreclosed by issue preclusion alone.




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       “Law of the case” represents another preclusion doctrine that is exactly on

point.. This doctrine provides that “one panel of an appellate court generally will not

reconsider questions that another panel has decided on a prior appeal in the same

case.” In re City of Philadelphia Litig., 158 F.3d 711, 717 (3d Cir. 1998). “The

doctrine is designed to protect traditional ideals such as finality, judicial economy,

and jurisprudential integrity.” Id. (citations omitted). The doctrine precludes review

those legal issues that the court in the prior appeal actually decided; it does not apply

to dicta. Id.

       Here, Monsanto asks the Third Circuit to reassess a global decision of an MDL

court that that was affirmed by the Ninth Circuit in a comprehensive assessment that

was necessary to the affirmance of the Hardeman judgment. Perhaps because

Monsanto’s request is so audacious, research has not disclosed a case where an MDL

court entered a global decision on a fundamental pre-trial legal issue that was

affirmed by the circuit court encompassing that MDL court, and then the defendant

filed an appeal in an entirely different federal circuit court to collaterally attack the

earlier circuit court ruling. Nevertheless, the Court has usefully addressed law of the

case doctrine to address the relationship of transferor and transferee court in the

MDL context. The Court has explained that “there is nothing in the rules adopted by

the Joint Panel on Multidistrict Litigation that authorizes a transferee judge to vacate

or modify the order of a transferor judge. Moreover, we do not believe that Congress



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intended that a “Return to Go” card would be dealt to parties involved in MDL

transfers.” In re Pharmacy Benefit Managers Antitrust Litig., 582 F.3d 432, 442 (3d

Cir. 2009) (internal citations omitted). This Court also has emphasized that law of

the case doctrine “is particularly applicable to multidistrict litigation in which the

presence of a large number of diverse parties might otherwise result in constant

relitigation of the same legal issue.” Id., quoting In re Upjohn Co. Antibiotic Cleocin

Prods. Liab. Litig., 664 F.2d 114, 119 (6th Cir. 1981)).

       The principles that govern the relationship between transferor and transferee

district courts apply equally to the circuit courts that review the district court rulings.

The JPML created MDL 2714 to promote the efficient facilitation of pretrial

proceedings in Roundup litigation. See In re Roundup Product Liability Litig., 214

F. Supp. 3d 1346. No legal issue could be more quintessentially pretrial than whether

federal law preempts the plaintiffs’ state-law claims. The Court should not allow

Monsanto to serially relitigate the MDL court’s decision on a global issue that has

been affirmed by another federal circuit court. To do otherwise would allow

Monsanto to “frustrate the principle aims of the MDL process and lessen the

system’s effectiveness” by allowing it to continually relitigate decisions of the MDL

court after remand to the MDL transferee court. In re Ford Motor Co., 591 F.3d 406,

411-12 (5th Cir. 2009); Rowland v. Novartis Pharmaceuticals Corp., 9 F. Supp. 3d

553, 559-60 (W.D. Pa. 2014) (agreeing that a transferee court generally is prohibited



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from reconsidering the MDL court’s decisions). Especially given that the MDL

court’s decision has been affirmed by a coordinate circuit court, this Court should

support the integrity of the MDL system by declining to reach the merits of

Monsanto’s appeal under the doctrines of issue preclusion and law of the case.

                               VII. CONCLUSION

      The Court should affirm the order denying summary judgment.

                                Respectfully submitted,


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                                        Charles L. Becker

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                        CERTIFICATE OF SERVICE

      I certify that the foregoing was served via the Court’s electronic case

management system upon all counsel of record.


                                         /s/ Charles L. Becker
                                       Charles L. Becker.


Dated: April 11, 2023
